                     10-31618-hcm Doc#37 Filed 10/11/11 Entered 10/11/11 11:50:18 Pg 1 of 4
0065-SC-EPIEXX-00004551-25687

                                UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                         EL PASO DIVISION

In re: JEROME BALL                                                                                      Case No.: 10-31618-HCM
       KIMBERLY BALL
             Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Stuart C. Cox, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11 U.S.C.
Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 08/03/2010.
2) The plan was confirmed on 01/13/2011.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 09/16/2011.
5) The case was dismissed on 09/16/2011.
6) Number of months from filing or conversion to last payment: 9.
7) Number of months case was pending: 14.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 15,428.00.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:            $3,790.00
        Less amount refunded to debtor:                       $470.00
 NET RECEIPTS:                                                                   $3,320.00

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                 $2,780.00
        Court Costs:                                                                 $.00
        Trustee Expenses and Compensation:                                       $239.06
        Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $3,019.06

 Attorney fees paid and disclosed by debtor:                $100.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim             Claim          Principal           Interest
Name                                         Class            Scheduled         Asserted          Allowed        Paid                Paid
A.F.N.I.                                     Unsecured                   NA            NA              NA               .00                 .00
ABC MOTORS                                   Secured             5,800.00        5,689.29        5,689.29               .00            242.15
ARMED FORCES BANK, N.A.                      Unsecured             354.00          782.64          782.64               .00                 .00
ASSET ACCEPTANCE CORP.                       Unsecured             245.00          245.13          245.13               .00                 .00
ASSET ACCEPTANCE CORP.                       Unsecured             423.00          435.36          435.36               .00                 .00
ASSET ACCEPTANCE, L.L.C.                     Unsecured                   NA            NA              NA               .00                 .00
BALLY TOTAL FITNESS                          Unsecured                   NA            NA              NA               .00                 .00
BANK OF AMERICA                              Unsecured             181.00              NA              NA               .00                 .00
CALIFORNIA STUDENT AID COMMISS               Unsecured           1,002.00        1,002.00        1,002.00               .00                 .00
CALIFORNIA STUDENT AID COMMISS               Unsecured             847.00          847.00          847.00               .00                 .00
CARLOS A. MIRANDA, III, P.C.                 Unsecured                   NA            NA              NA               .00                 .00
CASA RENTALS                                 Unsecured                   NA            NA              NA               .00                 .00


Page 1 of 4                                                                                                      UST Form 101-13-FR-S (9/1/2009)
                     10-31618-hcm Doc#37 Filed 10/11/11 Entered 10/11/11 11:50:18 Pg 2 of 4
0065-SC-EPIEXX-00004551-25687

                                UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF TEXAS
                                                 EL PASO DIVISION

In re: JEROME BALL                                                                Case No.: 10-31618-HCM
       KIMBERLY BALL
             Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                            Claim        Claim      Claim        Principal           Interest
Name                                 Class          Scheduled    Asserted   Allowed      Paid                Paid
CHARTER ONE BANK                     Unsecured             NA         NA         NA             .00                 .00
COMCAST CABLE                        Unsecured           81.00        NA         NA             .00                 .00
CONSUMER PORTFOLIO SERVICES          Unsecured        5,640.00   5,640.71   5,640.71            .00                 .00
COX COMMUNICATION                    Unsecured             NA         NA         NA             .00                 .00
DEBRA CRUME                          Unsecured        2,000.00        NA         NA             .00                 .00
DEPARTMENT OF VETERANS AFFAIRS Unsecured              3,000.00        NA         NA             .00                 .00
DEVRY INC.                           Unsecured             NA         NA         NA             .00                 .00
DEVRY UNIVERSITY                     Unsecured          690.00     636.16    636.16             .00                 .00
DEVRY UNIVERSITY                     Unsecured             NA      690.92    690.92             .00                 .00
E.C.M.C.                             Unsecured        3,571.00   7,955.96   7,955.96            .00                 .00
E.R. SOLUTIONS, INC.                 Unsecured             NA         NA         NA             .00                 .00
EDWARD BALL                          Unsecured          500.00        NA         NA             .00                 .00
F.H.A./H.U.D.                        Unsecured             NA         NA         NA             .00                 .00
FOUNDATION EMERGENCY SVC             Unsecured          464.00        NA         NA             .00                 .00
FOUNDATION EMERGENCY SVC             Unsecured             NA         NA         NA             .00                 .00
HIGHER EDUCATION STUDENT ASSIST Unsecured                  NA         NA         NA             .00                 .00
HOLLYWOOD ENTERTAINMENT CO.          Unsecured          194.00        NA         NA             .00                 .00
HUMPTY DUMPTY DAYCARE                Unsecured          800.00        NA         NA             .00                 .00
ILLINOIS STUDENT ASSIST. COMM.       Unsecured        1,885.00   2,289.86   2,289.86            .00                 .00
INTERNAL REVENUE SERVICE             Unsecured             NA         NA         NA             .00                 .00
INTERNATIONAL CASH ADVANCE           Unsecured          893.00        NA         NA             .00                 .00
INTERNATIONAL CASH ADVANCE           Unsecured             NA         NA         NA             .00                 .00
JUST MILITARY LOANS                  Unsecured        1,500.00        NA         NA             .00                 .00
K-MART CORPORATION                   Unsecured           89.00        NA         NA             .00                 .00
KMART/CLAIMS ACCOUNTING              Unsecured             NA         NA         NA             .00                 .00
LAS PALMAS MEDICAL CENTER            Unsecured          240.00        NA         NA             .00                 .00
LITTLE CO. OF MARY HOSPITAL          Unsecured           50.00        NA         NA             .00                 .00
MILITARY CREDIT SVC                  Secured          1,048.00   1,150.71   1,150.71            .00              50.30
MILITARY STAR                        Unsecured          194.00        NA         NA             .00                 .00
PALISADES ACQUISITION                Unsecured             NA    3,846.58   3,846.58            .00                 .00
PARAMOUNT RECOVERY SYSTEMS           Unsecured             NA         NA         NA             .00                 .00
PERSONAL CREDIT PLAN, INC.           Unsecured             NA         NA         NA             .00                 .00
PIONEER MILITARY LENDING             Unsecured        1,999.00        NA         NA             .00                 .00
PORTFOLIO RECOVERY ASSOCIATES        Unsecured             NA         NA         NA             .00                 .00
R.J.M. ACQUISITIONS LLC              Unsecured           87.00      87.35     87.35             .00                 .00
R.J.M. ACQUISITIONS LLC              Unsecured             NA         NA         NA             .00                 .00
ROUNDUP FUNDING, L.L.C.              Unsecured          161.00     161.42    161.42             .00                 .00
RUSHFAIR VILLA APARTMENTS            Unsecured        3,000.00        NA         NA             .00                 .00
S.B.C.                               Unsecured          245.00        NA         NA             .00                 .00


Page 2 of 4                                                                              UST Form 101-13-FR-S (9/1/2009)
                     10-31618-hcm Doc#37 Filed 10/11/11 Entered 10/11/11 11:50:18 Pg 3 of 4
0065-SC-EPIEXX-00004551-25687

                                UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF TEXAS
                                                 EL PASO DIVISION

In re: JEROME BALL                                                                  Case No.: 10-31618-HCM
       KIMBERLY BALL
             Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                            Claim        Claim        Claim        Principal           Interest
Name                                 Class          Scheduled    Asserted     Allowed      Paid                Paid
SANTANDER CONSUMER USA               Unsecured        6,316.00    8,230.99    8,230.99            .00                 .00
SENEX SERVICES                       Unsecured             NA          NA          NA             .00                 .00
SOUTHWESTERN BELL                    Unsecured             NA          NA          NA             .00                 .00
SPRINT                               Unsecured             NA          NA          NA             .00                 .00
SPRINT NEXTEL                        Unsecured          212.00     212.71      212.71             .00                 .00
SPRINT P.C.S.                        Unsecured             NA          NA          NA             .00                 .00
SPRINT P.C.S. CUSTOMER CARE          Unsecured          706.00         NA          NA             .00                 .00
SPRINT PCS                           Unsecured          536.00     711.30      711.30             .00                 .00
SPRINT PCS                           Unsecured             NA          NA          NA             .00                 .00
STATE OF NEW JERSEY TREASURER        Unsecured        7,731.00    8,598.48    8,598.48            .00                 .00
TIME WARNER COMMUNICATIONS           Unsecured          411.00         NA          NA             .00                 .00
TIME WARNER COMMUNICATIONS           Unsecured             NA          NA          NA             .00                 .00
TIME WARNER COMMUNICATIONS           Unsecured        1,215.00    1,665.00    1,665.00            .00                 .00
T-MOBILE USA INC.                    Unsecured          800.00     427.13      427.13             .00                 .00
U.S. ATTORNEY GENERAL                Unsecured             NA          NA          NA             .00                 .00
U.S. ATTORNEY/FHA/HUD/VA/IRS         Unsecured             NA          NA          NA             .00                 .00
U.S. CELLULAR                        Unsecured          766.00         NA          NA             .00                 .00
U.S. CELLULAR CHICAGO                Unsecured             NA          NA          NA             .00                 .00
U.S. DEBT                            Unsecured          200.00         NA          NA             .00                 .00
U.S. DEPARTMENT OF EDUCATION         Unsecured             NA     3,580.61    3,580.61            .00                 .00
U.S.A. DISCOUNTERS                   Secured          2,676.00    2,660.52     200.00             .00               8.49
U.S.A. DISCOUNTERS                   Unsecured             NA     2,460.52    2,460.52            .00                 .00
U.S.A.A.                             Unsecured          370.00         NA          NA             .00                 .00
VERIZON WIRELESS                     Unsecured             NA          NA          NA             .00                 .00
VERIZON WIRELESS                     Unsecured             NA          NA          NA             .00                 .00
VETERANS ADMINISTRATION              Unsecured             NA          NA          NA             .00                 .00
WEE CARE                             Unsecured          560.00         NA          NA             .00                 .00
WELLS FARGO BANK                     Unsecured          158.00     158.41      158.41             .00                 .00
WESTERN TRUCK SALES                  Secured          6,000.00   10,357.66   10,357.66            .00                 .00
WORLD ACCEPTANCE CORP.               Unsecured          475.00     616.82      616.82             .00                 .00




Page 3 of 4                                                                                UST Form 101-13-FR-S (9/1/2009)
                     10-31618-hcm Doc#37 Filed 10/11/11 Entered 10/11/11 11:50:18 Pg 4 of 4
0065-SC-EPIEXX-00004551-25687

                                UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF TEXAS
                                                       EL PASO DIVISION

In re: JEROME BALL                                                                                        Case No.: 10-31618-HCM
       KIMBERLY BALL
             Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim              Claim       Principal           Interest
Name                                       Class              Scheduled           Asserted           Allowed     Paid                Paid
WORLD VICTORY DAYCARE                      Unsecured               540.00              NA                NA             .00                 .00

 Summary of Disbursements to Creditors:                                                              Claim       Principal           Interest
                                                                                                     Allowed     Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00              .00               .00
     Mortgage Arrearage:                                                                               .00              .00               .00
     Debt Secured by Vehicle:                                                                    16,046.95              .00            242.15
     All Other Secured:                                                                           1,350.71              .00             58.79
 TOTAL SECURED:                                                                                  17,397.66              .00            300.94

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                         .00            .00                 .00
     Domestic Support Ongoing:                                                                           .00            .00                 .00
     All Other Priority:                                                                                 .00            .00                 .00
 TOTAL PRIORITY:                                                                                         .00            .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                     51,283.06              .00                 .00

 Disbursements:
        Expenses of Administration:                                                              $3,019.06
        Disbursements to Creditors:                                                                $300.94
 TOTAL DISBURSEMENTS:                                                                                                              $3,320.00

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:   10/11/2011                                       By:   /s/Stuart C. Cox
                                                                                  Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




Page 4 of 4                                                                                                      UST Form 101-13-FR-S (9/1/2009)
